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                     IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF DELAWARE

In re:                                         §         CASE NO. 07-10416-KJC
                                               §
NEW CENTURY TRS HOLDINGS, INC.,                §         Chapter 11
ET. AL.,                                       §
                                               §         Jointly Administered
         Debtors.                              §
                                               § Hearing Date: August 7, 2007 at 1:30 p.m.
                                               § Objection Deadline: July 31, 2007 at 4:00 p.m.

       MOTION OF POSITIVE SOFTWARE SOLUTIONS, INC. FOR RELIEF
    FROM THE STAY REGARDING COPYRIGHT INFRINGEMENT LITIGATION

TO THE HONORABLE KEVIN J. CAREY, U.S. BANKRUPTCY JUDGE:

         In accordance with Bankruptcy Code section 362(d), Positive Software Solutions, Inc.

(“Positive Software”) moves for relief from the automatic stay to permit the continuation of a

pending software and copyright infringement lawsuit brought in 2003 against certain of the

Debtors in this Bankruptcy Case.

                         I.      SUMMARY OF RELIEF REQUESTED

         1.     Positive Software developed and owns a software application and data storage

system commonly known as LoanForce (further defined below). LoanForce is designed for and

used by mortgage lenders to market mortgage loan products and to otherwise facilitate the

origination of mortgage loans.

         2.     Positive Software entered into the License Agreement (defined below) with

debtor New Century Mortgage Corporation (“New Century”), under which Positive Software

granted a non-exclusive license of LoanForce to New Century under strict use terms and

conditions.

         3.     During license renewal negotiations, Positive Software uncovered evidence that

New Century was engaging in a concerted plan to create its own software platform using




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LoanForce coding and design aspects. Among other things, in violation of Positive Software’s

statutory copyright protections and the express terms of the License Agreement, New Century

engaged in efforts to reverse engineer LoanForce so that it could incorporate much of LoanForce

as part of its alleged “proprietary” software platform.

        4.      To halt New Century from continuing to use software derived from LoanForce

and to recover for damages caused by New Century’s wrongful actions, in February 2003,

Positive Software sued New Century in the federal district court for the Northern District of

Texas (the “Texas District Court”), initiating a case referenced as Civil Action No. 3:03-CV-

0257-N (the “District Court Action”). Among other things, Positive Software sought monetary

damages and injunctive relief to redress (among other things) New Century’s breach of the

License Agreement, and for its theft and conversion of and infringement on Positive Software’s

copyrights and trade secrets. In that suit, the Texas District Court issued a preliminary injunction

against New Century and a protective order in favor of Positive Software.1 The Texas District

Court also found that New Century knowingly and repeatedly violated the terms of its injunction

and protective orders, and that Positive Software had shown a substantial likelihood of success

on the merits of its infringement and related claims against New Century.

        5.      Initially, the Texas District Court issued injunctive relief and protective orders in

favor of Positive Software. Then the Texas District Court referred Positive Software’s claims to

arbitration.

        6.      Despite the findings made by the Texas District Court that Positive Software had

demonstrated a likelihood of success on its infringement claims, the arbitrator subsequently


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        The Texas District Court’s preliminary injunction order, which is still in force, establishes that there is
        substantial likelihood that New Century’s current loan origination software infringes on Positive Software’s
        copyrights.



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issued an award rejecting those claims and levying attorneys fees and other damages in New

Century’s favor.

       7.      Positive Software then discovered that the arbitrator had various prior contacts

with New Century’s legal team. The arbitrator had failed to disclose any of those contacts as

required under the arbitration rules. Positive Software, for its part, was completely unaware of

the contacts at the time it participated in the selection of the arbitrator to hear and determine its

claims against New Century. Thus, when New Century moved to have the arbitration award

confirmed, Positive Software opposed the motion and sough to have the award vacated.

       8.      Texas District Court held for Positive Software and vacated the award based upon

the arbitrator’s failure to disclose the prior contacts. Noting prior rulings in which it found that

New Century had acted wrongfully in connection with the court and arbitration proceedings, the

Texas District Court found that the conduct would likely constitute independent grounds for

vacating the arbitration award.

       9.      New Century appealed the Texas District Court’s ruling to the Fifth Circuit. The

appellate panel affirmed the Texas District Court’s vacatur. Earlier this year, however, the full

Fifth Circuit reversed the panel on the grounds, according to the majority opinion, that the

arbitrator’s prior contacts with New Century’s legal team were not objectively material. Positive

Software subsequently filed a petition for a writ of certiorari with the Supreme Court. That

petition was recently denied and, absent the automatic stay, the case is subject to remand to the

Texas District Court for further adjudication on the arbitration award and Positive Software’s

alternate grounds for seeking vacatur of the award.

       10.     Positive Software requests relief from the automatic stay: (a) to permit the District

Court Action to proceed and to permit all claims in that proceeding to be fully adjudicated; (b) if




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a monetary award is entered in Positive Software’s favor, to permit Positive Software to take

action to recover on that award against any applicable commercial liability insurance issued to

New Century and any persons who are not Debtors in this Bankruptcy Case who may be co-

liable on Positive Software’s claims; and (c) to enforce the terms of any injunctive relief

rendered by the Texas District Court in Positive Software’s favor. Positive Software does not

seek to recover on any monetary award rendered against New Century or related Debtors except

through the claims administration process to be conducted in this Bankruptcy Case and/or from

liability insurance policies issued to New Century.

       11.     Relief from the automatic stay is warranted for three reasons. First, as the claims

at issue must be adjudicated, requiring New Century to do so in before the Texas District Court

does not prejudice New Century or its estate. Second, Positive Software will suffer hardship if

the relief it requests is not granted. Among other things, Positive Software’s ability to recover

against possible insurance policies may be adversely affected if it is not permitted to pursue its

claims. Also, the costs of pursuing those claims in any forum other than the Texas District Court

would result in significantly greater cost and expense. And third, Positive Software has already

demonstrated that its claims are likely meritorious.

       12.     Relief from the stay will also further principles of comity and judicial economy.

The claims at issue involve the interpretation and application of federal copyright laws to a

degree that withdrawal of the reference would be mandated upon motion by either party. The

Texas District Court, having heard extensive evidence and having made significant rulings as to

Positive Software’s claims, is eminently familiar with the facts and legal issues upon which

Positive Software’s claims are based and has had the opportunity to evaluate the credibility of

various fact witnesses.




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                                        II.   JURISDICTION

       13.     On April 2, 2007 (the “Petition Date”), the Debtors filed their respective

voluntary petitions for relief under Chapter 11 of Title 11, United States Code (the “Bankruptcy

Code”), thereby initiating this Bankruptcy Case. The Court has jurisdiction over this Motion

under 28 U.S.C. § 1334. This Motion is a core proceeding within the meaning of 28 U.S.C. §

157(b)(2). Venue of this Motion in this Court is proper under 28 U.S.C. §§ 1408 and 1409.

                                 III.    FACTUAL BACKGROUND

A.     THE PARTIES’ BUSINESS DEALINGS

       14.     Positive Software is in the business of developing and licensing computer

software, including a copyrighted software product called “LoanForce”. Among other things,

LoanForce: (i) includes built-in loan application; (ii) includes built-in Fannie Mae Standards and

mortgage tools; (iii) can transfer customer records dynamically from telemarketers to loan

officers; and (iv) automatically matches customer records to telemarketers, loan officers, and

customer representatives, and information concerning the customer automatically appears,

including such things as credit history, contact information, value of homes, and information

concerning all previous calls.

       15.     In 2000, Positive Software and New Century entered into a certain Software

Subscription Agreement (the “License Agreement”), under which Positive Software licensed the

LoanForce software under a non-exclusive basis and with strict usage terms and conditions. (A

true and correct copy of the License Agreement is attached hereto as Exhibit “A”.) In the License

Agreement, and as held by the Texas District Court, New Century acknowledged that LoanForce

was Positive Software’s property and agreed to return all proprietary information concerning

LoanForce to Positive Software at the termination of the License Agreement. The License




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Agreement gave New Century no rights other than a limited ability to use LoanForce as provided

therein, and it conferred on New Century no rights to use the intellectual property underlying

LoanForce or to make derivative works.

       16.       In late 2002 and early 2003, however, Positive Software became aware that New

Century was using a new software package, which it called LoanTrack, together with associated

databases called LF_Moon and LTK_Moon. LoanTrack was an interim product being used by

New Century as New Century developed a product it called “LoanTrack2 and “MLAS.” New

Century alleged that it, with the assistance of an outside firm, developed LoanTrack

independently from LoanForce.       As described in further detail below, however, the Texas

District Court expressly found that New Century improperly derived LoanTrack from

LoanForce.

B.     THE DISTRICT COURT ACTION

       17.     On February 6, 2003, Positive Software terminated the License Agreement and

filed the District Court Action in the Texas District Court against New Century and certain other

related parties (including other debtors in this Bankruptcy Case). Positive Software asserted

claims and causes of action against New Century and the other related defendants for, among

other things, copyright infringement, misappropriation of trade secrets, misappropriation of

intellectual property, breach of contract, fraud, and conversion. Among other things, Positive

Software alleged that LoanTrack, LF_Moon, LTK_Moon, LoanTrack2, MLAS, and related and

derivate products (collectively, the “Disputed Property”) were all derived by New Century

through its infringement and theft of Positive Software’s intellectual property and copyrights.

       18.     On April 28, 2003, the Texas District Court entered its Memorandum Opinion and

Order [District Court Action Docket No. 88], thereby issuing a preliminary injunction (the




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“Preliminary Injunction”) prohibiting and enjoining New Century and any persons acting in

concert with New Century from “any use of the LoanForce software, the LoanForce database,

LoanTrack-1, LF_Moon, and LTK_Moon.” See Preliminary Injunction at p. 17. (A true and

correct copy of the Preliminary Injunction is attached hereto as Exhibit “B”.) The Texas District

Court found in the Preliminary Injunction that Positive Software owned the rights and copyrights

to LoanForce and that New Century was no longer entitled to use LoanForce, but rather

obligated New Century to return LoanForce to Positive Software. Additionally, the Texas

District Court found that, based on “the fact that LoanTrack-1 contained substantial verbatim or

near-verbatim copying of” Positive Software’s intellectual property, Positive Software had

“shown a substantial likelihood of success on the merits of its claim that LoanTrack-1 (including

the associated LFMoon and LTKMoon components) infringed Positive Software’s copyrights in

LoanForce.” See Preliminary Injunction at pp. 7 & 9.

C.     THE ARBITRATION AWARD AND THE VACATUR ORDER

       19.     Concurrently with its entry of the Preliminary Injunction, the Texas District Court

ordered the dispute to arbitration. Arbitration followed, and the arbitrator issued an award (the

“Arbitration Award”) substantially against Positive Software and in favor of New Century.

Positive Software, however, soon discovered that the arbitrator had undisclosed relationships

with New Century’s counsel. Positive Software then objected to confirmation of the Arbitration

Award and instead moved that the Texas District Court vacate the award.

       20.     On September 28, 2004, the Texas District Court entered its Memorandum

Opinion and Order [District Court Action Docket No. 372] (the “Vacatur Order”). (A true and

correct copy of the Vacatur Order is attached hereto as Exhibit “C”.) The Texas District Court:

(i) granted Positive Software’s motion to vacate the Arbitration Award based on the arbitrator’s




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undisclosed prior contacts with New Century’s counsel; (ii) denied New Century’s motion to

confirm the Arbitration Award; and (iii) found that New Century had violated the Texas District

Court’s protective orders (though it declined to sanction New Century on the ground that the

order was not sufficiently specific).

       21.     In an amendment to its motion to vacate, Positive Software brought to the District

Court’s attention the fact that New Century had falsely claimed that it did not have the original

November 2000 script for the LoanForce database (which Positive Software requested for

purposes of analyzing similarities between LoanForce and LoanTrack 2 and other Disputed

Property) and had, therefore, fraudulently and wrongfully withheld production of that script. Of

additional significance, the Texas District Court found that “[i]f the Court were to address that

motion on the merits, it likely would … grant the amended motion to vacate for, inter alia, New

Century’s failure to produce the November 2000 Script.” See Vacatur Order pp. 42-43, n. 24.

       22.     Moreover, in connection with the issue of New Century’s continuing “pervasive”,

but prohibited, accessing of LoanForce, the Texas District Court noted that the accessing “would

appear to be a difficulty for New Century’s ‘clean room’ defense of LoanTrack2.” See Vacatur

Order p. 9, n. 7. Thus, the Texas District Court has indicated that New Century’s principal

defense to Positive Software’s infringement claims is likely without merit.

D.     APPELLATE PROCEEDINGS

       23.     New Century appealed the Vacatur Order to the Fifth Circuit which, in January,

2006, substantially affirmed the Texas District Court’s ruling by published opinion. See Positive

Software Solutions, Inc. v. New Century Mortgage Corp., 436 F.3d 495 (5th Cir. 2006).

       24.     In January 2007, the full Fifth Circuit reversed the panel’s earlier decision (with

five of the sixteen members of the bench dissenting). In that reversal, the Fifth Circuit majority




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ruled that the Texas District Court had not properly applied the correct legal standard in

determining that the arbitrator’s failure to disclose required that the Arbitration Award be

vacated. Thus, the Fifth Circuit ordered that the case be remanded to the Texas District Court for

further proceedings. See Positive Software Solutions, Inc. v. New Century Mortgage Corp., 476

F.3d 278 (5th Cir. 2007).2

       25.      In light of, among other things, a split in circuit court rulings on arbitration

disclosure requirements (which the Fifth Circuit majority recognized in its own ruling), Positive

Software filed a petition for a writ of certiorari with the Supreme Court. That petition was

recently denied. Consequently, the Fifth Circuit’s order remanding the District Court Action

back to the Texas District Court has become effective. Further proceedings before the Texas

District Court are currently stayed, however, in accordance with Bankruptcy Code section

362(a)(1). The matters which will need to be determined by the Texas District Court include,

among other things: (i) whether the Arbitration Award should be vacated for fraud, discovery

abuse, and/or other misconduct by New Century and its counsel (and the Texas District Court

has appeared to indicate) or other grounds (including newly-discovered evidence of additional

contacts between the arbitrator and New Century’s legal team); and (ii) if so, (a) whether

Positive Software’s claims are meritorious and, (b) the amount of damages and the nature of any

permanent injunctive relief which should be granted in favor of Positive Software.

                            IV.      ARGUMENTS AND AUTHORITIES

       26.      Cause exists under Bankruptcy Code section 362(d) to modify the automatic stay

and to permit the District Court Action to proceed. First, there is no material prejudice (and

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       The crux of the Fifth Circuit majority’s opinion concerned whether the Supreme Court’s Commonwealth
       Coatings Corp. v. Continental Cas. Co. opinion required vacatur of an arbitration award based on the
       arbitrator’s lack of full disclosure of potential conflicts, regardless of whether evident or actual partiality
       was actually proven.



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possibly real benefit) to the Debtors and their estates in doing so. The claims brought by Positive

Software and the counter-claims brought by New Century need to be adjudicated in some forum

and it is the Texas District Court, which has heard significant evidence in this matter and made

many material rulings, that is best positioned to do so.

       27.     Second, the hardship faced by Positive Software if the stay is not lifted at this

time outweighs any hardship that might result to New Century. Among other things, New

Century may be insured against the claims asserted by Positive Software and Positive Software

could be prejudiced in obtaining insurance compensation if litigation of its claims is further

delayed. Also, adjudication of Positive Software’s claims in any other forum other than the

Texas District Court presents the possibility that New Century will be able to avoid adverse

findings and rulings which the Texas District Court has made or has indicated that it would likely

make against New Century.

       28.     Third, relief from the automatic stay should be granted because Positive Software

is likely to prevail against New Century on its copyright infringement claims. And fourth,

permitting those claims to be adjudicated by the Texas District Court is in the interests of judicial

efficiency and comity and is supported by other recognized factors in determining if cause exists

to grant relief from the automatic stay.

A.     RELIEF FROM THE AUTOMATIC STAY FOR CAUSE

       29.     This Court may grant relief from the automatic stay “for cause, including the lack

of adequate protection of an interest in property.” 11 U.S.C. § 362(d)(1). “‘Cause’ is not

defined in the Code; it must be determined on a case-by-case basis.” Izzarelli v. Rexene Prods.

Co. (In the Matter of Rexene Prods. Co.), 141 B.R. 574, 576 (Bankr. D. Del. 1992). As further

explained by this Court:




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         The legislative history to section 362(d)(1) emphasizes the section’s applicability
         to proceedings in another tribunal. It will often be more appropriate to permit
         proceedings to continue in their place of origin, when no great prejudice to the
         bankruptcy estate would result, in order to leave the parties to their chosen forum
         and to relieve the bankruptcy court from any duties that may be handled
         elsewhere.

Id. at 576 (internal quotations omitted) (emphasis added).

         30.     Thus, relief from the stay is freely and routinely granted to permit advanced

prepetition litigation to continue postpetition in a non-bankruptcy forum. See, e.g., Universal

Life Church Inc. v. United States (In re Universal Life Church Inc.), 127 B.R. 453, 455 (E.D.

Cal. 1991) (“[t]he automatic stay in this case should be modified to permit the tax court to finish

what it had nearly completed. That forum has special expertise in deciding difficult and

contested tax issues. The tax issues raised in this case are presumptively difficult otherwise it

would not have taken three years to prepare the case for trial ... . The interests of judicial

economy weigh overwhelmingly in favor of returning the 1978-1980 tax issues to tax court”); In

the Matter of Rexene Prods. Co.), 141 B.R. at 577; (“[o]ne of the primary purposes in granting

relief from the stay to permit claim liquidation is to economize judicial resources.              All

indications are that the lawsuit will come to trial quickly in Texas, in a court that has jurisdiction

over all the defendants. If the lawsuit were moved to this court, it is not clear whether it would

go to trial in this court or the District Court”); In re Hunt, 95 B.R. 442, 448 (Bankr. N.D. Tex.

1989).

         31.     This Court generally considers three factors in analyzing whether to grant relief

from the stay to permit prepetition litigation to continue: “(1) whether any great prejudice to

either the bankrupt estate or the debtor will result from continuation of the civil suit; (2) whether

the hardship to the non-bankrupt party by maintenance of the stay considerably outweighs the

hardship to the debtor; and (3) the probability of the creditor prevailing on the merits.” American



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Airlines Inc. v. Continental Airlines Inc. (In re Continental Airlines Inc.), 152 B.R. 420, 424 (D.

Del. 1993). Accord Levitz Furniture Inc. v. T. Rowe Price Recovery Fund L.P. (In re Levitz

Furniture Inc.), 267 B.R. 516, 523 (Bankr. D. Del. 2000); In the Matter of Rexene Prods. Co.,

141 B.R. at 576.

           32.      The Bankruptcy Code places the initial burden of showing that cause exists on the

moving party, but after that initial showing is made the burden of proof passes to the debtor. See

In the Matter of Rexene Prods. Co., 141 B.R. at 577.3 Positive Software contends that the very

record of the District Court Action establishes cause to grant the relief it requests. Thus, the

Debtors here bear the burden of demonstrating that cause does not exist for granting that relief.

           1.       No Prejudice to the New Century Estate.

           33.       Permitting the District Court Action to proceed will not prejudice the Debtors’

estates. The dispute between Positive Software and New Century will have to be addressed in

some forum, meaning that New Century will have to incur litigation costs to resolve the claims

asserted by Positive Software. As New Century has already engaged capable counsel in Texas

that is intimately familiar with the dispute. And New Century’s costs would be minimized by

permitting the District Court Action to proceed, as opposed to having the parties (including New

Century) bear the expense of educating a new judge on the facts and the various issues in

question. Of course, if New Century believes that it is actually entitled to monetary damages

against Positive Software (as it urged in the original arbitration and as the arbitrator determined),




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    Section 362 (g) provides:

           (g) In any hearing under subsection (d) or (e) of this section concerning relief from the stay of any act
           under subsection (a) of this section—
                    (1) the party requesting such relief has the burden of proof on the issue of the debtor’s equity in
                    property; and
                    (2) the party opposing such relief has the burden of proof on all other issues.


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then permitting the District Court Action to proceed may actually be to the benefit of New

Century and its bankruptcy estate.

       34.     The alternative to permitting the District Court Action to move forward is, for

many reasons, problematic. First, in light of the nature of the dispute between Positive Software

and New Century, this court cannot and should not adjudicate the claims at issue. The District

Court Action is a complicated action concerning federal non-bankruptcy law and affecting

interstate commerce. As such, it is the type of matter contemplated under 28 U.S.C. § 157(d) to

be heard by a federal district court. Also, in light of the extensive proceedings to-date in the

Texas District Court, it would appear appropriate for this Court (or the Delaware District Court)

to abstain from adjudicating the dispute under 28 U.S.C. § 1334(c)(1) insofar as doing so will

further the goals of judicial economy and consistency.

       35.     Also, because Positive Software agrees that it will seek to recover on any

monetary judgment granted in its favor from New Century only through the bankruptcy claims

process and/or insurance policies issued for New Century’s benefit (the proceeds of which would

otherwise not be available to the general creditor body), the requested relief will not provide

Positive Software with any advantage over the general creditor body.

       2.      Hardship to Positive Software.

       36.     The continued maintenance of the automatic stay may severely prejudice Positive

Software. Among other things, prejudice to a movant may be shown where, as here, the

continuing imposition of the automatic stay divests the movant of a valuable remedy. See In re

Levitz Furniture Inc., 267 B.R. at 523. To the extent that New Century may have commercial

liability insurance policies that covers some or all of the claims asserted by Positive Software,

delay in adjudicating Positive Software’s claims may reduce or eliminate Positive Software’s




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ability to recovery against those insurance policies. To wit, if New Century’s insurance coverage

is exhausted by satisfying or otherwise resolving other covered commercial claims asserted

against New Century, Positive’s software right and ability to recover the proceeds of those

policies will be effectively eliminated.

       37.     As noted in Collier on Bankruptcy:

       Where the claim is one covered by insurance or indemnity, continuation of the action
       should be permitted since hardship to the debtor is likely to be outweighed by hardship to
       the plaintiff. Finally, the liquidation of a claim may be more conveniently and speedily
       determined in another forum.

2 Collier on Bankruptcy, ¶ 362.07 [3] (15th ed. 1980) (footnotes omitted) (emphasis added).
       38.     Regardless of the availability of insurance policy proceeds to satisfy Positive

Software’s claims, Positive Software would suffer significant prejudice in increased litigation

costs and expenses if it were required to cease litigation before the Texas District Court and have

to commence the same complex litigation in this Court or, if the reference is withdrawn, the

Delaware District Court.

       39.     Finally, Positive Software would face prejudice to the extent that having to

litigate its claims before this Court or the Delaware District Court might permit New Century to

effectively rehabilitate itself from the misconduct in which it and its professionals engaged in the

underlying arbitration proceeding and in the District Court Action itself. As has been previously

described above, the Texas District Court has already indicated that it would likely vacate the

Arbitration Award based on that same misconduct. The Texas District Court further noted that

that same misconduct has put into question one of New Century’s principal defenses – that the

LoanTrack2 software was developed in a “clean room” and that its software developers could not

have had access to Positive Software’s LoanForce software.




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       3.        Positive Software is Likely to Prevail.

       40.       This factor has been described as requiring a showing that “the creditor has some

chance of prevailing.” In re Levitz Furniture Inc., 267 B.R. at 523. The movant need not show a

likelihood or a substantial likelihood of success on the merits. Rather, it need only show “some

chance” of success. Id.

       41.       As previously noted above, there is well more than “some chance” that Positive

Software will ultimately prevail on its claims. Among other things, the Texas District Court

found, in issuing its Preliminary Injunction, that Positive Software had shown a substantial

likelihood of success on the merits of its claims against New Century. As a matter of law,

therefore, Positive Software has considerably more than merely “some chance” of prevailing in

the Texas District Court, having already demonstrated a likelihood of prevailing on its claims

against New Century.

       4.        Other Factors.

       42.       Courts from other jurisdictions consider several factors in addition to, or as

subsets of, the three factors found relevant by the Delaware Court, including:

             •   whether relief would result in a partial or complete resolution of the issues;

             •   whether litigation in another forum would prejudice the interests of other
                 creditors;

             •   the interests of judicial economy and the expeditious and economical resolution of
                 litigation; and

             •   whether the parties are ready for trial in the other proceeding
See, e.g., In re Mid-Atlantic Handling Systems, LLC, 304 B.R. 111, 130 (Bankr. D. N.J. 2003).

       43.       Here, other recognized factors favor granting Positive Software the relief it

requests.    Most notably, the interests of judicial economy can only be served by permitting

Positive Software’s claims to go forward in the District Court Action, insofar as the Texas


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District Court is well versed in the specific facts and issues of that litigation and which has

already issued material findings and orders in the case.

                                     V.      CONCLUSION

       44.     The Texas District Court, having an intimate familiarity of the various legal and

factual issues involved in the parties’ dispute, is the most appropriate forum to adjudicate the

parties’ competing rights and interests in the most efficient and economical manner possible.

Consequently, the automatic stay should be modified so that the parties can proceed on the

claims brought by Positive Software and so that Positive Software may enforce any monetary

judgment it obtains against: (i) the Debtors through the bankruptcy claims administration

process; (ii) any commercial liability insurance policies providing coverage for the claims

asserted; and (iii) non-Debtor parties that may be co-liable with New Century and other Debtors

on Positive Software’s claims.




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                               VI.     REQUEST FOR RELIEF

        Positive Software respectfully requests that the Court enter an order: (i) granting this

Motion; (ii) modifying the automatic stay to permit the District Court Action to proceed to a final

adjudication, including any future injunctive, arbitration, or appellate proceedings that may be

involved; (iii) permitting Positive Software to seek recovery on any monetary judgment granted

in its favor from non-Debtor sources of recovery, including commercial liability polices held by

New Century or other Debtors and from non-Debtor third-parties that may be co-liable with the

Debtors (if any); and (iv) granting Positive Software such other and further relief to which it may

be justly entitled.




        RESPECTFULLY SUBMITTED this 10th day of July 2007.


                                               FOX ROTHSCHILD LLP



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